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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF SOUTH DAKOTA

                    Jeffrey L. Viken United States District Judge Presiding

 Courtroom Deputy - KLE                                Court Reporter – Sheri Not Help Him
 Courtroom - RC #1                                     Date – April 28, 2023
 U.S. Probation Officer – Nikole Miller

                                          5:20-cr-50095-01

 United States of America                                Sarah Collins and Kelsey Blair

                   Plaintiff,

                      vs.

 Cody Wayne Hopkins                                              Alecia Fuller

                  Defendant.


 TIME HEARING SCHEDULED TO BEGIN: 3:00 p.m.

 TIME:
2:56 p.m.     Enter contested sentencing hearing

              Sentence: 120 month’s imprisonment, 5 year’s supervised release and $100 VAF.
              Forfeiture ordered by the Court.

              The defendant is advised of his appeal rights.

3:27 p.m.     Court Adjourned.
